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                    IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

MAHA ABDOU MIKHAEL                          )   CASE NO.: 1:25-CV-00851
                                            )
              Plaintiff,                    )   JUDGE: DAVID A. RUIZ
                                            )
vs.                                         )   MAGISTRATE JUDGE: JAMES E. GRIMES,
                                            )   JR.
CLEVELAND PUBLIC MARKET                     )
CORPORATION, et al.,                        )
                                            )
              Defendants.                   )



DEFENDANT CITY OF CLEVELAND’S MEMORANDUM IN OPPOSITION TO
   PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER



       Now comes Defendant City of Cleveland (the “City”), and respectfully requests

that this Honorable Court deny the Motion for a Temporary Restraining Order filed by

Plaintiff Maha Abdou Mikhael (“Mikhael”). (Doc. 2).
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                                            Respectfully submitted,

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                                            Director of Law

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                            STATEMENT OF THE CASE

         On April 29, 2025, Mikhael filed a complaint alleging various claims against

Defendants Cleveland Public Market Corporation, the City, Rosemary Mudry, and John

Does 1-10. (collectively the “Defendants”). Mikhael alleges that she has rented space

pursuant to a Rental Agreement that expired on August 31, 2023 within the West Side

Market, a public market located in Cleveland and owned by the City. (Doc.#1, PageID

#3-5).    The purpose of Mikhael’s tenancy at the West Side Market was to operate a

business called King Produce in order to sell produce. (Doc.#1, PageID #4). She further

alleges that the aforementioned tenancy continued on a month-to-month basis following

the expiration of the Rental Agreement. (Doc.#1, PageID #5). Mikhael states that “[i]n

April of 2024, the City ceded its management and operation of the Market to a non-profit,

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the Cleveland Public Market Corporation...” (Doc.#1, PageID #7).     Mikhael received “a

Notice of Termination of their September 8, 2022 West Side Market Rental Agreement”

on March 13, 2025. (Doc.#1, PageID #8). This Notice of Termination stated that

Mikhael’s “…final month of tenancy at the Building shall be April 2025.” (Doc.#1,

PageID #9). Mikhael alleges claims in the Complaint against the Defendants purportedly

pursuant to 42 U.S.C. § 1983 under the First and Fourteenth Amendments of the United

States Constitution, together with claims for defamation against Mudry.          (Doc.#1,

PageID #10-16).     Mikhael further alleges that she is entitled to injunctive relief,

essentially arguing that she will suffer irreparable harm unless the month to month

tenancy is prevented from being terminated by way of an injunction from the Court.

(Doc.#1, PageID #16-18). Mikhael filed a Motion for Temporary Restraining Order

contemporaneously with the filing of the Complaint, in which she argues that a

Temporary Restraining Order is necessary to prevent her from being required to

surrender her West Side Market tenancy “…on or before April 30, 2025.”           (Doc.#2,

PageID #1). This Court held a telephonic hearing on Mikhael’s Motion for Temporary

Restraining Order on the afternoon of April 30, 2025 in which counsel for Mikhael

together with counsel for Defendants Cleveland Public Market Corporation, Rosemary

Mudry and the City participated.       Mikhael’s counsel argued that the Temporary

Restraining Order was required to be entered prior to 5 p.m. on April 30, 2025 in order to

prevent the eviction of Mikhael. Counsel for Cleveland Public Market Corporation and

Mudry indicated that she was confused by this allegation because Mikhael had removed

all personal and business effects that had been located in the West Side Market tenant

space at issue and turned in keys to the space before the telephonic hearing had



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commenced. There was no need to evict her because Mikhael had voluntarily vacated.

The Court indicated that it considered the undisputed fact that a written notice had been

issued on March 13, 2025 of the impending termination of the month to month tenancy

and that there was no automatic right to a renewal of the tenancy when it declined to

grant the Temporary Restraining Order on April 30, 2025. On May 1, 2025, the Court

issued an order indicating that it had taken “the matter under advisement and will issue a

written decision in due course.”     (Doc.#12).    The City opposes Mikhael’s Motion for

Temporary Restraining Order because she has failed to make the requisite showing under

applicable law that would entitled her to a Temporary Restraining Order. The City

opposes Mikhael’s Motion for Restraining Order upon the additional ground that it is

moot. For the foregoing reasons, Mikhael’s Motion for Restraining Order should be

denied.



                                         ARGUMENT

I.        Legal Standard

          Federal courts have long held that “[a]s long as there is notice to the other side

and an opportunity to be heard, the standard for a preliminary injunction is the same as

that for a temporary restraining order.”      News Herald, a Div. of Gannett Satellite

Information      Network,    Inc.   v.   Ruyle,   949   F.Supp.    519,   521    (N.D.Ohio

1996) citing Martin–Marietta Corp. v. Bendix Corp., 690 F.2d 558, 564 (6th Cir.1982).

Temporary restraining orders and preliminary injunctions are extraordinary remedies that

are granted only to “prevent irreparable injury.” Sternberg v. Checker Oil Co., 573 F.2d

921, 925 (6th Cir. 1978). Federal Courts “…must consider four factors when ruling on a

motion for a temporary restraining order and preliminary injunction, namely whether: 1)
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the plaintiffs have a strong likelihood of success on the merits; 2) the plaintiffs would

suffer irreparable injury without the injunction; 3) issuance of the injunction would cause

substantial harm to others; and 4) the public interest would be served by issuance of the

injunction. Chabad of Southern Ohio & Congregation Lubavitch v. City of Cincinnati,

363 F.3d 427, 432 (6th Cir. 2004). Furthermore, “[t]he temporary restraining order

(TRO) and preliminary injunction factors are not prerequisites that must be met, but are

interrelated considerations that must be balanced together.” Doe v. Burlew, 740

F.Supp.3d 576 (W.D.Ky. 2024).

         Significantly, the Sixth Circuit has held that “…a district court is not required to

make specific findings concerning each of the four factors used in determining a motion

for preliminary injunction if fewer factors are dispositive of the issue. Donaldson v.

United States, 109 Fed.Appx. 37, 41 (6th Cir. 2004) Also, “…though no one factor is

controlling, a finding that there is simply no likelihood of success on the merits is usually

fatal.” Gonzales v. Nat'l Bd. of Med. Exam'rs, 225 F.3d 620, 625 (6th Cir.2000).

Additionally, the Supreme Court of the United States has held in the context of injunctive

relief that "…the Court need only consider those claims that address possible future

wrongs. See United States v. W.T. Grant Co., 345 U.S. 629, 633 (1953) (“The purpose of

an injunction is to prevent future violations.”). This is because to justify an injunction,

there must be “…some cognizable danger of recurrent violation[.]” Id. at 633.

Insofar as Plaintiff raises claims for prior wrongs, those claims are irrelevant to the

question at hand." Gale v. O'Donohue, 2018 WL 618739, (E.D.Mich. Jan. 30, 2018).

Both because Mikhael had already vacated the tenant space at the West Side Market prior

to the telephonic hearing on her Motion for Preliminary and because her month to month



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tenancy had been terminated with proper notice, there is no legally cognizable reason that

might entitle her to injunctive relief. There was no demonstrated risk of any recurrent

“violation” even assuming arguendo that the termination of the tenancy prior to the

hearing on was somehow unlawful, which it was not. Mikhael’s Motion for Preliminary

Injunction should be denied for the aforementioned reasons.

II.    Mikhael has not demonstrated irreparable harm.

       For irreparable harm, “…an injury must be both certain and immediate, not

speculative or theoretical.” Memphis A. Philip Randolph Institute v. Hargett, 978 F.3d

378, 391 (6th Cir. 2020). This “…factor is indispensable.” D.T. v. Sumner Cnty. Schools,

942 F.3d 324, 327 (6th Cir. 2019). Furthermore, “[i]f the plaintiff isn’t facing imminent

and irreparable injury, there’s no need to grant relief now as opposed to at the end of the

lawsuit.” Id. at 327.

       Mikhael alleges that she will suffer irreparable harm “…should the termination of

Plaintiff’s Rental Agreement be enforced, Plaintiff will be barred from conducting her

business in its sole and singular place of business…” (Doc.#2, PageID #2). Since the

referenced termination of the Rental Agreement had already occurred (and Mikhael had

voluntarily surrendered the West Side Market tenant space) prior to the hearing on the

Motion for Temporary Restraining Order, there is no alleged “harm” to prevent. There is

nothing to restrain. Mikhael’s Motion for Temporary Restraining Order should be denied

on these bases alone.

III.   Mikhael’s Motion for Temporary Restraining Order is Moot.

       It has been held in Ohio that “[a] case is only “moot” if, assuming that the

plaintiff receives the relief which he or she requests, such relief would no longer afford

any meaningful legal benefit. McGee v. E. Ohio Gas Co., 111 F.Supp.2d 979 (S.D.Ohio

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2000). This is precisely the situation with Mikhael’s Motion for a Temporary Restraining

Order. Mikhael’s Motion should be denied on the additional ground of mootness because

it seeks to preserve a legal relation, a tenancy, which had already ceased to exist prior to

the hearing on the Motion.



                                     CONCLUSION

       For all of the above reasons, this Honorable Court should deny Mikhael’s Motion

for Temporary Restraining Order together with such further relief as this Honorable

Court may deem just and equitable.




                                             Respectfully submitted,

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                           LOCAL RULE CERTIFICATION

       This case is not currently assigned to any track. The Memorandum conforms to the

page limitations in compliance with Local Rule 7.1(f).


                                                      /s Gilbert E. Blomgren
                                                      Gilbert E. Blomgren (0065240)




                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing document was filed

electronically on the 13th day of May, 2025. Notice of this filing will be sent to all parties

by operation of the Court’s electronic filing system. Parties may access this filing through

the Court’s system.




                                                      /s Gilbert E. Blomgren
                                                      Gilbert E. Blomgren (0065240)




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